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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
EMILIO SERESEROZ, JR., §
Plaintiff, §
V. § No. 3:14-CV-2723-M
DEPARTMENT OF VA, ET AL. §
Defendants. §

ORDER ACCEPTING FINDINGS, C()NCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made Findings, Conclusions, and a
Recornrnendation in this case. N0 objections Wei'e filed. The Disti'ict Coul't reviewed
the proposed Findings, Conelusions, and Recommendation for plain error. Finding
none, the Coui‘t ACCEPTS the Findings, Conciusiens, and Recommendation of the
United States Magistrate Judge. The Plaintiff’s claims against the U.S.
Depai'tment of Vetei'ans Affaii‘s and the Seci'etary of Vetei'ans Affairs are summarin
dismissed for Want of jurisdiction Plaintiffs claims may proceed against the
United States of Ainerica, and the case shall hereafter by styled Emilio Sei'eseroz,

Jr. v. United States cf Ainerica.

  
  
 

SO ORDERED this \ il day of Octobei'

‘/B ss RA~m/G lLYN
D sTATEs n sTR JUD E

 

